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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

PEGGY PIERCE,                    §
                                 §
    Plaintiff,                   §
                                 §
V.                               §        CIVIL ACTION NO. 4:18-cv-01686
                                 §
FONDREN ORTHOPEDIC GROUP LLP and §
FONDREN ORTHOPEDIC LTD,          §
                                 §
    Defendants


               PIERCE’S MOTION FOR PARTIAL SUMMARY
         JUDGMENT ON TWO OF HER BREACH OF CONTRACT CLAIMS


                                                OBERTI SULLIVAN LLP

                                          By:   s/ Mark J. Oberti
                                                Mark J. Oberti
                                                State Bar No. 00789951
                                                S.D. Texas No. 17918
                                                712 Main Street, Suite 900
                                                Houston, Texas 77002
                                                (713) 401-3555 – Telephone
                                                (713) 401-3547 – Facsimile
                                                mark@osattorneys.com – Email

                                                Attorney-in-Charge For Plaintiff

OF COUNSEL:

Edwin Sullivan
State Bar No. 24003024
S.D. Texas No. 24524
OBERTI SULLIVAN LLP
712 Main Street, Suite 900
Houston, TX 77002
(713) 401-3555 – Telephone
(713) 401-3547 – Facsimile
ed@osattorneys.com – Email

ATTORNEYS FOR PLAINTIFF

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                       IN THE UNITED STATES DISTRICT COURT
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PEGGY PIERCE,                    §
                                 §
    Plaintiff,                   §
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V.                               §                 CIVIL ACTION NO. 4:18-cv-01686
                                 §
FONDREN ORTHOPEDIC GROUP LLP and §
FONDREN ORTHOPEDIC LTD,          §
                                 §
    Defendants


                PIERCE’S MOTION FOR PARTIAL SUMMARY
          JUDGMENT ON TWO OF HER BREACH OF CONTRACT CLAIMS

       Peggy Pierce (“Pierce”) files this Motion for Partial Summary Judgment on Two of her

Breach of Contract Claims.

I.     SUMMARY

       Pierce is the former Administrator and Chief Executive Officer (“CEO”) of Defendant

Fondren Orthopedic Group LLP (“FOG”). She was employed by FOG for nearly thirty years.

Defendant Fondren Orthopedic LTD (“FOLTD”) is a 40% owner of Texas Orthopedic Hospital

(“TOH”). When TOH generates profits, the physician partners of FOLTD share them according

to the number of “units” they own in FOLTD.

       In 2014, FOLTD agreed in writing to pay Pierce the equivalent of 10 unit shares from

FOLTD’s quarterly partnership earnings during the rest of her employment with FOG, and for

five years after her termination.   See “the Agreement,” (Ex. 1-E) (underline added).       The

Agreement does not condition Pierce’s right to such payment for five years after her termination

on her being terminated without cause. The Agreement was conceived of, initiated by, and




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executed on behalf of FOLTD by Dr. Woods, who was FOLTD’s President. Dr. Woods had

both apparent and actual authority to execute the Agreement on behalf of FOLTD.

         Over the years, the quarterly distributions averaged a total of approximately a total of

$300,000.00 a year. On March 15, 2018, FOG terminated Pierce (Ex. 1-L). At the time, FOG

did not claim Pierce had been fired for “cause.” (Id.). However, on April 18, 2018, FOG and

FOLTD took the position through their newly hired legal counsel that, despite the plain language

of the Agreement to the contrary, Pierce was not entitled to be paid either: (1) her full final

quarterly distribution for the first quarter of 2018 (which would have been approximately

$63,139.32); or (2) any further quarterly distributions, much less five years worth of such

distributions (Ex. 1-L).

         At the time, FOG’s and FOLTD’s sole basis for taking these positions was that Pierce

had allegedly been terminated for “cause.”       (Id.).   Later, FOG and FOLTD claimed the

Agreement was not supported by consideration (Defendants’ Original Answer and Counterclaim,

Doc. 8 at ¶ 45). As a matter of law, these two grounds do not justify FOG’s and FOLTD’s

positions because: (1) the plain and unambiguous language of the Agreement does not excuse

FOLTD from performance if Pierce is terminated for “cause”; and (2) the Agreement is

supported by adequate consideration.

         Accordingly, Pierce seeks a summary judgment ruling that she is entitled to be paid by

FOLTD: (1) her full final quarterly distribution for the first quarter of 2018 (which would have

been approximately $63,139.32); and (2) the equivalent of 10 unit shares from FOLTD’s

quarterly partnership earnings for five years after her termination, i.e., until the end of March

2023.




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II.      FACTUAL BACKGROUND1

A.       Pierce Was Instrumental In FOG’s Exponential Growth Over More Than A
         Quarter Of A Century, And In Making Its Physician Partners Millionaires Many
         Times Over

         Pierce earned a Bachelor of Business Administration from the University of Houston in

1981, and is a Fellow in The American College of Medical Practice Executives. Pierce joined

FOG as its Chief Financial Officer in 1989, became its Administrator in 1993, and then

successfully led the Company for two and one-half decades. Some of Pierce’s accomplishments

and contributions to FOG and FOLTD over the years, are as follows:

             a. She grew the organization from its initial size of 14 physicians to over 50
                physicians, and from one location to 16 locations.

             b. She was instrumental in hiring top quality orthopedic surgeons for the last 20+
                years. As part of that, she handled all contract negotiations and financial matters.

             c. She started the first Offshore Captive for Medical Malpractice insurance of
                FOG’s size in 2001. The savings have been approximately $18 million since
                inception.

             d. She managed all construction projects for both the Texas Orthopedic Hospital
                (“TOH”) – which FOLTD is a 40% owner – and FOG, including the initial
                building of TOH. The total construction costs for the TOH were well in excess of
                $120 million, and the construction was finished on budget and on time. TOH’s
                majority owner is Hospital Corporation of America (“HCA”), a for-profit operator
                of health care facilities in the United States and United Kingdom.

             e. She negotiated TOH’s contract with DePuy Synthes Companies. The savings for
                the hospital have been approximately $20 million. In addition, she extended the
                contract for another five years before the contract expired. The initial contract
                was negotiated with the President of Johnson & Johnson.

             f. She recruited and brought on Drs. Uday Doctor and Michael McCann who
                collectively produce $120,000 annually for each 40-unit owning partner.

             g. She successfully negotiated all major vendor contracts for both FOG and TOH for
                the last 29/25 years, respectively.



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  The facts stated in this motion are supported by Pierce’s sworn affidavit (attached as Exhibit 1) and the documents
attached thereto as Exhibits 1-A through 1-O.
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         h. She led negotiations for all major purchases for FOG and TOH including MRI
            equipment, PACS systems, operating room equipment, etc.

         i. Due largely to her efforts, FOG was successful in earning a substantial Medicare
            bonus of approximately 19.2%. Only approximately 4% of groups in the country
            earned the bonus.

         j. She converted all semi-private rooms to private room, which required careful and
            detailed coordination. She also added approximately 30 OBS beds for TOH.

         k. She initiated and executed the plan to increase the number of Operating Rooms to
            17 prior to moratoria being put in place. She also created plans to immediately
            add more are if the moratoria are lifted.

         l. She took a very creative approach in developing incredible banking terms for both
            FOG and TOH, and FOLTD new partners.

         m. She handled and managed all Risk Management issues with an innovative
            approach to settling medical malpractice cases designed to mitigate exposure or
            damages to doctors.

         n. She was one of the most published administrators in the country.

         o. She earned certification from the Fellow of the American College of Medical
            Practice Executives, which is a very difficult certification to earn.

         p. She spoke at national and international conferences.

         q. She was credited with success in holding off a reduction in the workers’
            compensation fee schedule, and, as part of this effort, testified for the Texas State
            Legislature for several hours.

         r. She wrote a lead Article in the Journal of Bone and Joint Surgery, showing that,
            at the time, practice patterns did not change after physician ownership. This was
            considered to be an incredibly important peer reviewed paper in an academic
            journal discussing the topic of physician owned specialty hospitals.

         s. She responded to all Texas Medical Board complaints against FOG doctors, and
            avoided disciplinary action in every case.

         t. She successfully ran and oversaw the FOG group and its eventual approximately
            375 employees on a day-to-day basis.

      Under Pierce’s leadership, FOG grew into an approximately $60 million per year

business with approximately 45 physician partners, of which approximately 21 were also

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partners in FOLTD (the entity that is 40% owner of TOH). The physician partners earned

millions of dollars per year, through their individual practices and (in the case of approximately

21 of them), their individual partnership interests in FOLTD.

       In September 2017, Pierce was named CEO of FOG. Her job remained the same; that

was merely a change in job title. At the time – which is less than a year ago – FOG’s then

President and Managing Partner, Dr. Jeffrey Kozak, publicly proclaimed that, “Peggy Pierce has

been the guiding force in the success of both Fondren Orthopedic Group and Texas Orthopedic

Hospital. Her commitment to excellence is unparalleled.” Fondren Orthopedic Group Names

New CEO, Houston Chronicle, September 12, 2017 (Ex. 1-A).

       Around the same time, other FOG physicians wrote glowing notes of appreciation to

Pierce. Dr. Muffadel Gombera wrote a note stating, in part, “[w]hen I ask the partners about

strategies that helped Fondren become so successful, I always get one answer: “Peggy.’” (Ex. 1-

B). Dr. Greg Stock wrote a note stating that Pierce, “is the person that I most appreciate when I

receive a distribution check. I am confident she has done everything possible to make the

distributions as big and fair as possible.” (Ex. 1-C).

B.     Pierce Had An Approximately $630,000 Per Year Compensation Package; In
       Addition, In 2014, FOLTD Agreed To Pay Her Approximately $300,000.00 Per
       Year For Five Years After Her Employment With FOG Ended

       In 2005, FOLTD began paying Pierce the equivalent of 10 unit shares from FOLTD’s

quarterly partnership earnings. This was done to reward Pierce for her hard work and efforts

regarding the efficiency and financially successful operations of TOH and the day-to-day

operations of FOLTD. As FOLTD’s General Partner’s President at the time, G. William Woods,

M.D., wrote at the time:

       It has been decided that it is definitely time to properly reward you for all of your
       hard work and efforts regarding the efficient and financially successful operations
       of Texas Orthopedic Hospital and the day-to-day operations of Fondren
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       Orthopedic Ltd. Therefore, effective with the regular earnings distribution for the
       second quarter of 2005, which was due July 15th, you are to pay yourself an
       amount equal to what 10 Units of Partnership Ownership Interest would receive.

                                            ***

       You have done an excellent job for the Partnership and you deserve to share in its
       rewards.

(Ex. 1-D).

       Pierce’s outstanding performance continued over the next nine years, and FOG, FOLTD,

and TOH continued to thrive, prosper, and grow. Accordingly, on November 14, 2014, FOLTD

agreed in writing to continue to pay Pierce, among other things, the equivalent of 10 unit shares

from FOLTD’s quarterly partnership earnings during the rest of her employment with FOG, and

for five years after her termination.   See “the Agreement,” (Ex. 1-E).       The Agreement is

predicated on Pierce continuing to be FOG’s Administrator and handling the day-to-day business

Affairs of the Partnership – both of which she did over the following 3+ years of her

employment at FOG (Id.). The Agreement does not condition Pierce’s right to such payment for

five years after her termination on her being terminated without cause. The Agreement is not

discretionary – it says that Pierce “will” received such payments (Id.). The Agreement was

conceived of, initiated by, and executed on behalf of FOLTD by Dr. Woods, who was still the

President. Dr. Woods had both apparent and actual authority to execute the Agreement on behalf

of FOLTD.     Dr. Woods also intencentivized Pierce to continue her excellent performance on

behalf of FOLTD, because the more FOLTD earned, the more her quarterly payments would be,

both while she was working on behalf of FOLTD, and for five years after her termination (Ex. 1-

E at 2). Over the years, the quarterly distributions averaged a total of approximately a total of

$300,000.00 a year.




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       Pierce’s annual total compensation package from FOG and FOLTD, including the

equivalent of 10 unit shares distributions, was approximately $630,000.00 per year. In the

summer of 2017, Dr. Woods left FOG and FOLTD (he was voted out) after approximately 30

years at the helm, and was replaced by Dr. Kozak. Dr. Kozak was replaced by Dr. Stocks in

February 2018 and Dr. Stocks was replaced by Dr. Elkousy a few months later.

C.     Pierce Objected To FOG’s Unethical Practices; In Response, FOG Illegally
       Removed Pierce From The Workplace And Placed Her On An “Indefinite Leave”
       Based On Her Disability, Age, And Sex

       Pierce dyes her hair blond. Around the same time that she was promoted to CEO in

2017, she told Dr. Kozak that she was thinking of letting her hair grow out into its natural color,

which is white. Dr. Kozak told her that there was talk in the doctors’ lounge about them not

wanting an older woman as CEO, and that letting her hair grow out white would feed that

age/sex talk, and being an older woman is not a good position to be in. Dr. Kozak told Pierce

that was not fair, but it was reality. Consistent with what Dr. Kozak told her, physicians at FOG

and FOLTD have stated in partnership meetings that they wanted to hire younger people.

       Shortly after Pierce was named CEO, Dr. Kozak and other of FOG’s and FOLTD’s

physician partners, began an intense campaign to increase revenues by engaging in myriad

unethical practices, such as systematically prescribing the use of durable medical equipment

(“DME”) equipment to patients without medical necessity, and submitting deceptive paperwork

to insurers and other payors in order to conceal the scheme. Pierce objected to this and other

unethical practices on numerous occasions, both verbally and in writing. Her objections were

ignored by FOG’s then President and Managing Partner, Dr. Kozak, FOG’s then Vice President,

Dr. Hussein Elkousy, and other physician partners, and the objectionable practices continued.

       Pierce ran a report comparing the number of DME devices that Defendants had

prescribed in January 2017, as compared to January 2018. The difference was staggering – the
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amount of DME prescriptions had increased at least 10-fold or more. This confirmed that the

Defendants were engaged in nothing more than a fraudulent naked money grab at the expense of

their patients, insurance companies, and other payors. When Pierce continued to object, the

physicians involved in this scheme made comments such as “the insurance companies have been

screwing us for years; it is our turn to screw them.”

       Immediately after Pierce voiced her objections to the unethical practices concerning, for

example, the DME over-prescription, she was attacked by FOG’s and FOLTD’s physicians. A

particularly noteworthy attack was premised on her having MS. Pierce has had MS for many

years. She manages it with daily medication and exercise. It has never adversely affected her

job performance. Yet, on January 24, 2018, Dr. Kozak and Dr. Elkousy – two of the chief

architects of the scheme – both told Pierce that they believed her MS was affecting her

appearance and that she embarrassed them and the group during a recent conference in Austin,

Texas, by appearing fatigued. Dr. Elkousy said that he believed that Pierce’s MS had caused a

30% cognitive impairment and that it had for many years. Pierce assured them both that her

MRI results had not shown any worsening in the lesions that cause the MS, and offered to

undergo full physical and cognitive testing, and share the results with them. They declined. Dr.

Elkousy then said that he believed Pierce’s MS has resulted in millions of dollars being left on

the table or in millions of dollars of mistakes being made. When asked for an example, Dr.

Elkousy could not provide even one, instead nonsensically stating that, “we don’t know what we

don’t know.” Dr. Kozak and Dr. Elkousy brought up Pierce’s MS at least twenty times during

the meeting, and clearly communicated to Pierce that they perceived her MS as substantially

limiting her ability to think or to perform her job, despite admittedly having no evidence that her

MS ever adversely impacted her thinking or her job performance even one time.



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       Indeed, Pierce’s performance was outstanding, and the objective results prove that. For

example:

       a.      The last quarter of 2017 was FOLTD’s best quarter financially in its 23-year
               history.

       b.      The month of January 2018, was one of FOG’s best months financially in its 43-
               year history.

       c.      Pierce had successfully recruited six new physicians to FOG in the last six
               months, two of whom bought into FOLTD for $4 million each, which resulted in
               each of the approximately 21 FOLTD partner physicians (other than one)
               receiving over $400,000.00, in addition to the approximately $1.5 million each
               physician receives annually in earnings distributions from FOLTD, and their
               practice incomes from FOG of six or seven figures each.

       d.      In late 2017, Pierce put together a presentation by doctor concerning revenues,
               and sliced and diced the data in every way possible that she could come up with,
               and that Dr. Kozak and Dr. Elkousy, could think of. Pierce fully answered hours
               of questions until there were no more. There are saved minutes of the
               presentation.

       On or about February 7 and 8, 2018, two weeks after Dr. Kozak and Dr. Elkousy attacked

Pierce for having MS, Pierce, in her capacity as CEO, asked FOG’s IT consultant, Wes Spears,

to copy her emails and files on her computer, and her electronic calendar, so as to ensure relevant

information concerning FOG’s and FOLTD’s aforementioned unethical and potentially illegal

practices was maintained. This was her right and duty as CEO. It was also a federally protected

right under 18 U.S.C. § 1833(b) of the Defend Trade Secrets Act of 2016. Pierce instructed Mr.

Spears not to tell anyone what she had asked him to do, and to invoice his work so as not to

reveal what he was asked to do, because she reasonably feared that if Drs. Elkousy and Kozak

found out that she was making efforts to retain evidence of FOG’s and FOLTD’s aforementioned

unethical and potentially illegal practices, they would fire her, and bury the evidence of their

wrongdoing, and of her objections (Ex. 1-F).




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       Unbeknownst to Pierce, Dr. Elkousy had tellingly instructed Mr. Spears to let him know

if Pierce asked him to copy any electronic files (which, he knew, contained the proof of FOG’s

and FOLTD’s wrongdoing, and of Pierce’s objections). After Mr. Spears informed him of

Pierce’s request, Dr. Elkousy and Dr. Kozak had Pierce removed from the workplace on

February 8, 2018, by an armed security guard. In a text message Dr. Kozak inadvertently sent

Pierce that day, he wrote that he was “terminating her with an escort.” (Ex. 1-G). Yet, in

contrast, Dr. Elkousy told Pierce she was on a paid leave of absence.

D.     Dr. Elkousy Essentially Admitted That FOG’s Given Reason For Removing Pierce
       From The Workplace And Placing Her On An “Indefinite Leave” Was A Pretext

       Three days later, on Sunday, February 11, 2018, Dr. Elkousy reiterated in a phone call

with Pierce that she was on a paid leave of absence. Dr. Elkousy also admitted that she had the

right to have the files copied by the IT person. In other words, Dr. Elkousy essentially admitted

that the articulated basis for “terminating her with an escort” was an indefensible pretext.

       That same day, February 11, 2018, Dr. Kozak sent an e-mail out to the physician partners

falsely claiming that Pierce “is taking an indefinite leave of absence . . . .” (Ex. 1-H). Dr.

Kozak’s email does not accuse Pierce of any wrongdoing (Id.).        To the contrary, Dr. Kozak’s

email states that, “Peggy has had many accomplishments during her 30-year career with

Fondren, all of which are greatly appreciated.” (Id.). Yet, Pierce remained banned from the

workplace.

E.     Pierce Alleged Illegal Discrimination, And Defendants Hired A Law Firm To
       Investigate Her Allegations While She Remained On The Indefinite Leave

       On February 14, 2018, Pierce complained of unlawful discrimination that violated the

TCHRA. On February 23, 2018, FOG’s and FOLTD’s then outside counsel, Ruth Ann Daniels,

of Gray Reed & McGraw LLP, sent Pierce’s lawyer a letter stating, in relevant part, “[a]t the

outset, we would like to clarify that Pierce has not been terminated. Pierce has been placed on a

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paid leave of absence while an investigation is conducted.” (Ex. 1-I). Daniels’ letter stated that

she had “begun an investigation into Pierce’s allegations of discrimination and unethical

conduct.” (Id.). Daniels asked for a date to meet with Pierce, to interview her (Id.). Pierce

agreed to meet on February 27, 2018.

       On February 27, 2018, Ruth Ann Daniels interviewed Pierce in person as Pierce’s

lawyer’s office. The interview was audio recorded at Daniels’ request (Ex. 1-J). Daniels asked

Pierce questions about her allegations of disability, sex, and age discrimination (Id.). Daniels did

not accuse Pierce of any financial or other wrongdoing during her interview (Id.). Daniels had

no further contact with Pierce after her interview on February 27, 2018.

F.     While She Remained On Her “Indefinite Leave,” Pierce Filed An EEOC/TWC-
       CRD Charge Of Discrimination, And Sent A Copy Of The Charge To Defendants’
       Lawyer

       On February 28, 2018, Pierce filed a Charge of Discrimination with the Texas Workforce

Commission – Civil Rights Division (“TWC-CRD”) and the Equal Employment Opportunity

Commission (“EEOC”), and her lawyer sent a copy to Ms. Daniels that same day (Ex. 1-K).

       Presumably, Daniels reported back to FOG and FOLTD about her interview with Pierce,

and whether she found her allegations credible. She presumably also passed along the TWC-

CRD/EEOC Charge, and provided her opinion on that too. Shortly after the interview, FOG and

FOLTD terminated Gray Reed & McGraw LLP and Daniels as their legal counsel in this matter.

G.     Two Weeks After She Filed Her EEOC/TWC-CRD, FOG Fired Pierce, But Did Not
       Allege That It Had Fired Her For Cause, Or For Any Particular Alleged
       Wrongdoing – In Fact, It Thanked Pierce For Her Service And Wished Her The
       Best In Her Future Endeavors

       Two weeks later, on March 15, 2018, FOG formally terminated Pierce’s employment via

a letter sent to her house (Ex. 1-L). The letter did not state a reason for her termination. Nor did

it claim that Pierce was terminated for cause, or even accuse Pierce of any wrongdoing. Rather,


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the letter stated, “[t]hank you for your service to FOG and we wish you the best in your future

endeavors.” (Id.). Pierce was replaced as CEO by a far less qualified non-disabled male, Jeff

Stocks (the brother of one of the partner physicians). On March 22, 2018, Pierce timely filed an

amended EEOC/TWC-CRD Charge to include her formal termination (Ex. 1-M).

H.     Defendants Fired Their First Law Firm, And Hired A New Law Firm

       At some point after terminating Gray Reed & McGraw LLP and Daniels as their legal

counsel in this matter, Defendants hired Ahmad, Zavitsanos, Anaipakos, Alavi & Mensing P.C.

(“AZA”). On Monday, April 16, 2018, the parties mediated this matter, pre-suit, in front of

mediator Alan Levin. The case did not settle. That same day, FOLTD’s payment for the full

first quarter of 2018 was due to Pierce pursuant to the plain terms of the Agreement (Ex. 1-E).

FOLTD refused to make the payment due to her, and thus breached the Agreement.

I.     Defendants Then Belatedly Claimed That They Fired Pierce For Cause, In A
       Desperate Attempt To Get Out Of Paying Pierce Approximately $1.5 Million Under
       The Agreement It Entered With Her In November 2014

       Two days later, on April 18, 2018, a lawyer from the Defendants’ new law firm sent

Pierce a letter through her counsel (Ex. 1-N). By this time, more than two months has passed

since Defendants had removed Pierce from the workplace and placed her on an “indefinite

leave,” and more than a month had passed since Defendants had formally terminated Pierce (Exs.

1-H and 1-L). Up until this time, Defendants had never alleged that Pierce was terminated for

“cause,” or for any specified alleged wrongdoing (Exs. 1-H and 1-L).

       Yet, in this post hoc letter from their new lawyers, Defendants now claimed – for the first

time – that Pierce had been fired for cause, and conveniently enough, according to them that

meant that they owed Pierce nothing (Ex. 1-N).        Defendants thus claim that they are not

obligated to honor the terms of the Agreement (Id.), even though the Agreement expressly

provides that FOLTD is obligated to pay Pierce distributions the equivalent to 10 unit shares

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from FOLTD’s quarterly partnership earnings for five years after her termination, and contains

no exception for termination for “cause” (not to mention that Pierce was not terminated for

“cause” anyway) (Ex. 1-E). In the letter, Defendants asserted five different actions Pierce

allegedly took that constituted “cause” for her termination (Ex. 1-N). As explained in detail in

her attached affidavit (Ex. 1), Defendants’ after-the-fact manufactured assertions of wrongdoing

against Pierce are without any merit.

III.    SUMMARY JUDGMENT STANDARD

        Summary judgment is proper when “there is no genuine dispute as to any material fact

and the movant is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(a). The court

must view the evidence in a light most favorable to the nonmovant. Coleman v. Hous. Indep.

Sch. Dist., 113 F.3d 528, 533 (5th Cir. 1997).      Initially, the movant bears the burden of

presenting the basis for the motion and the elements of the causes of action upon which the

nonmovant will be unable to establish a genuine dispute of material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). The burden then shifts to the nonmovant to come forward

with specific facts showing there is a genuine dispute for trial. See Fed. R. Civ. P. 56(c);

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–87 (1986). “A dispute

about a material fact is ‘genuine’ if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Bodenheimer v. PPG Indus., Inc., 5 F.3d 955, 956 (5th Cir.

1993) (citation omitted).

IV.     ARGUMENT AND ANALYSIS

        A.     Legal Standards

        A breach of contract claim has the following elements: (1) the existence of a valid

contract; (2) performance or tendered performance by the plaintiff; (3) breach of the contract by

the defendant; and (4) damages sustained by the plaintiff as a result of the breach. Wright v.

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Christian & Smith, 950 S.W.2d 411, 412 (Tex. App. – Houston [1st Dist.] 1997, no writ). There

is no question that all four elements are satisfied in this case. See supra.

       In interpreting a contract’s meaning, if the words of a contract can be given a definite

meaning, the contract is unambiguous and should be construed as a matter of law. Frost Nat’l

Bank v. L & F Distribs., Ltd., 165 S.W.3d 310, 312 (Tex. 2005). The Court construes an

unambiguous contract as a matter of law. See Transcon. Gas Pipeline Corp. v. Texaco, Inc., 35

S.W.3d 658, 665 (Tex. App. – Houston [1st Dist.] 2000, pet. denied) (holding that “[i]f the

contract is unambiguous, the court must enforce the contract as written”). An unambiguous

contract will be enforced as written, and parole evidence will not be received for the purpose of

creating an ambiguity or to give the contract a meaning different from that which its language

imports. David J. Sacks, P.C. v. Haden, 266 S.W.3d 447, 450 (Tex. 2008).

       B.      Analysis

       As set forth below, FOLTD makes two arguments in an effort to evade Pierce’s breach of

contract claims. Neither argument has thwarts Pierce’s entitled to summary judgment.

               1.      The Agreement Is Supported By Consideration

       FOLTD first asserts that the Agreement is not supported by consideration (Defendants’

Original Answer and Counterclaim, Doc. 8 at ¶ 45). FOLTD is wrong as a matter of law. It is

well-settled in Texas that consideration may take the form of a benefit to the promissor or a

detriment to the promisee. See Diamond Paint Co. of Houston v. Embry, 525 S.W.2d 529, 533

(Tex. Civ. App. – Houston (14th Dist.) 1975, writ refused n.r.e.). The burden of proving a lack of

consideration is on the pleader. Winters v. Langdeau, 360 S.W.2d 515, 516 (Tex. 1962). “It is a

rebuttable statutory presumption that a written instrument is prima facie proof of consideration.”

Richardson v. Office Bldgs. of Houston, 704 S.W.2d 373, 375 (Tex. App. – Houston [14th] Dist.

1985, no writ). FOLTD cannot carry its burden.

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       Here, there is a specific written agreement (Ex. 1-E). Its intent was to both reward Pierce

for her past efforts, and to incentive her to continue to perform outstanding work for FOLTD,

because the more money FOLTD made, and the more successful it became in the future, the

larger her quarterly distributions would be going forward, and for the five years after her

termination. Indeed, the Agreement was expressly predicated on Pierce continuing to be the

FOG Administrator and handling the day-to-day business Affairs of the Partnership (Ex. 1-E).

Pierce subsequently performed by continuing to be the FOG Administrator and handling the day-

to-day business Affairs of the Partnership. This is thus a valid and enforceable contract. See

Vanegas v. American Energy Services, 302 S.W.3d 299, 303-04 (Tex. 2009) (based on their

performance, the employees’ right to payment under a previous unilaterally offered bonus

agreement vested, and employer could not deny payment); Pasant v. Jackson Nat'l Life Ins. Co.,

52 F.3d 94, 96 (5th Cir. 1995) (“Even if part of A.J. Pasant’s motivations was a reward J. Pasant

for past services, a promise that is supported by a mixture of gift and bargain is supported by

adequate consideration.”); Toch v. Eric Schuster Corp., 490 S.W.2d 618, 624 (Tex. Civ. App. –

Dallas 1972, writ ref’d n.r.e.). This conclusion is bolstered by the fact that the Agreement is

non-discretionary – it says that Pierce “will” received such payments. Cf. City of Houston v.

Williams, 353 S.W.3d 128, 138 (Tex. 2011) (holding that language in statute that firefighters

“shall” be entitled to, and “shall” receive specific benefits was binding and established

entitlement to those benefits). In sum, the Agreement is supported by consideration and is

enforceable under Texas law.

              2.      There Is No Exception In The Agreement For A Termination
                      For Cause (And Pierce Was Not Terminated For Cause
                      Anyway)

       FOLTD’s second argument is that it did not breach the Agreement, because Pierce was

terminated for “cause.” Even if Pierce was terminated for “cause” (and she was not), that would
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not be sufficient for FOLTD to avoid summary judgment because the plain and unambiguous

language of the Agreement does not excuse FOLTD from performance if Pierce is terminated for

“cause.” (Ex. 1-E). The Agreement does not even mention “cause,” as any basis for excusing

performance by FOLTD. Rather, the Agreement unambiguously provides that FOLTD must pay

Pierce the equivalent of 10 unit shares from FOLTD’s quarterly partnership earnings during the

rest of her employment with FOG, and for five years after her termination. There is no exception

if Pierce is terminated for cause. Accordingly, as a matter of law, Pierce is entitled to: (1) her

full final quarterly distribution for the first quarter of 2018 (which would have been

approximately $63,139.32); and (2) the equivalent of 10 unit shares from FOLTD’s quarterly

partnership earnings for five years after her termination, i.e., until the end of March 2023.

       This interpretation is mandated by the plain language of the Agreement. It is also

completely consistent with the main purpose of the Agreement – to ensure Pierce was

compensated after her employment with FOLTD ended.               As Dr. Woods explained in the

Agreement itself:

       You have done an excellent job for the Partnership and after these many years of
       dedicated service deserve not only to continue sharing in the success of the
       Partnership, but to benefit past the point when you are no longer working for
       Fondren and the Partnership.

(Ex. 1-E at 2) (bold added).

       To try to support its articulated defense that a termination for “cause” would excuse its

performance under the Agreement, FOLTD has cited to one unpublished Texas case, Gorbet v.

Northwood Lincoln-Mercury, No. 14-04-00813-CV, 2005 WL 2875283 (Tex. App. – Houston

[14th Dist.] 2005, writ denied) (unpublished) (Defendants’ Original Answer and Counterclaim,

Doc. 8 at ¶ 47). Gorbet is not on point. In Gorbet, a newly hired employee, Gorbet, and

Northwood entered into an employment contract, which contained the following clause:


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       If the terms and conditions of this “Employment Contract” are agreed by the
       signatures below, Northwood additionally agrees, in the event Mike [Gorbet] is
       terminated, or laid off within 12 months of the initial employment date of
       01/08/02 Northwood will honor this contract by paying in full all remaining
       months to equal 12 full months of employment and employment pay at the time of
       termination or lay off.

       Northwood discharged Gorbet in July 2002, after Gorbet was involved in a physical

altercation while attending an auto auction on behalf of Northwood. It refused to pay him the

remainder of his twelve month contract. Gorbet sued, and the trial court granted summary

judgment for Northwood. The Court of Appeals affirmed on the ground that a term employment

contract may be terminated for “cause” without further liability, and Northwood had proven that

it terminated Gorbet for “cause.” Id. at *2.

       Gorbet does not govern here for at least three separate and independent reasons. First,

the rule in Gorbet applies to term employment contracts. Here, the Agreement is not a term

employment contract – indeed, it is not a contract of employment at all (Ex. 1-E). Second,

Gorbet did not deal with a situation where, as is the case here, an employer specifically explicitly

promised to make payments to an employee after her termination. Third, Gorbet did not deal

with an situation where, as is the case here, an employer specifically stated that its intent for

entering the Agreement was so as to ensure that the long-term employee continued to share in the

success of a partnership after their employment ended specifically because of the “excellent job”

she had done to make the partnership successful (Ex. 1-E at 2). For all three reasons, Gorbet is

not controlling, and does not excuse FOLTD’s breaches of the Agreement in this case.

       Alternatively, even if Gorbet did apply (and it does not), it would not excuse FOLTD’s

breaches of the Agreement because FOG’s own contemporaneous communications to Pierce at

the time of her termination demonstrate that FOG did not terminate Pierce for “cause.” Instead,

when FOG formally terminated Pierce’s employment on March 15, 2018, it sent her a


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termination letter that did not even state a reason for her termination (Ex. 1-L). FOG did not

claim in the termination letter that Pierce was terminated for cause, or even accuse Pierce of any

wrongdoing. Rather, the termination letter stated, “[t]hank you for your service to FOG and we

wish you the best in your future endeavors.” (Id.). It was only (much) later, after a failed

mediation, through its new legal counsel, that FOG took the positon that Pierce had been

terminated for cause (Ex. 1-N). Thus, the fact remains that, at the legally relevant time – the

time of her termination – not even FOG or FOLTD claimed Pierce was being terminated for

cause. As such, even if Gorbet did otherwise apply – and it does not – it would not excuse

FOLTD’s breaches of the Agreement.

V.     CONCLUSION

       As set forth herein, Pierce respectfully prays that the Court grant her motion for partial

summary judgment on two of her breach of contract claims.            A proposed Order is filed

contemporaneously with this motion.

                                                        Respectfully submitted,

                                                        OBERTI SULLIVAN LLP

                                                By:     s/ Mark J. Oberti
                                                        Mark J. Oberti
                                                        State Bar No. 00789951
                                                        S.D. Texas No. 17918
                                                        712 Main Street, Suite 900
                                                        Houston, Texas 77002
                                                        (713) 401-3555 – Telephone
                                                        (713) 401-3547 – Facsimile
                                                        mark@osattorneys.com – Email

                                                        ATTORNEY-IN-CHARGE FOR PLAINTIFF




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served upon
the counsel of record listed below by the Southern District of Texas ECF method on the 25th of
June 2018.

       Joseph Ahmad
       AHMAD, ZAVITSANOS, ANAIPAKOS, ALAVI & MENSING, P.C.
       1221 McKinney, Suite 2500
       Houston, Texas 77010

                                           s/ Mark J. Oberti
                                           Mark J. Oberti




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